Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 1 of 44




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Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 2 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 3 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 4 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 5 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 6 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 7 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 8 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 9 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 10 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 11 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 12 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 13 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 14 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 15 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 16 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 17 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 18 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 19 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 20 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 21 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 22 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 23 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 24 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 25 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 26 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 27 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 28 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 29 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 30 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 31 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 32 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 33 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 34 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 35 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 36 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 37 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 38 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 39 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 40 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 41 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 42 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 43 of 44
Case 1:14-cv-00003-SPW-CSO Document 1-4 Filed 01/08/14 Page 44 of 44
